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                                                         UNITED STATES BANKRUPTCY COURT
                                                          SOUTHERN DISTRICT OF NEW YORK


In re Retrieval Masters Creditors Bureau, Inc.                                                     Case No. 19-23185 (RDD)
      Debtor                                                                              Reporting Period: June 17, 2019-June 30, 2019

                                                                                        Federal Tax I.D. # _.1....3_;;
                                                                                                                   -2;;.;;9-'1-'-
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                                             REVISED CORPORATE MONTHLY OPERATING REPORT

     File with the Court and submit a copy to the United States Trustee within 20 days after the end of the month and
     submit a copy of the report to any official committee appointed in the case.
     (R.eports for Rochester and Buffalo Divisions of Western District of New York are due 15 days after the end of
     the month, as are the reports for Southern District of New York)

     REQUIRED DOCUMENTS                                                                       Form No.               Document Attached       Explanation
                                                                                                                                             Attached
     Schedule of Cash Receie_ts and Disbursements                                       MOR-1                    y
     Bank Reco nciliation (or co_Q_ies of debtor's bank         reconciliation ~        MOR-1_iCON'T_l           y
        Co_Q_ies of bank statements                                                                              Available on re_g_uest
        Cash disbursements j ournals                                                                             Available on re_g_uest
     Statement of 0...£.erations                                                       [MOR-2                    y
      Balan ce~heet                                                                     MOR-3                    y
     l.§.tatus of Post:E_etition Truces                                                 MOR-4                    y
           Co_Q_ies ofIRS Form 6123 orJ2..!!Y.ment rece!.Q.t                                                     Available on r~uest
           Co..e.ies of tax returns filed durin_g_ re..Qortin g_Q_eriod                                          NIA
       SummaQ'._ of Un_Q_aid Post:Q_etition Debts                                       MOR-4                    y
           Listin_g_ of A_g_ed Accounts P!!Y_able                                                                Available on re_g_uest
      Accounts Receivable Reconciliation and Ad n_g_                                    MOR-5                    y
      Taxes Reconciliation and A_g_in_g_                                                MOR-5                    y
      Pavments to Insiders and Professional                                             MOR-6                    y
       Post Petition Status of Secured Notes Leases Pav able                            MOR-6                    y
      Debtor .Questionnaire                                                             MOR-7                    y

     I declare under penalty of perjury (28 U.S.C. Section 1746) that this report and the attached documents
     are true and correct to the best of my knowledge and belief.

     Signature of Debtor                                                                                         Date

     Signature of Authorized Individual*        J-#1 ~                                                           Date    fuxjut-.f     I ~' lb 11
     Printed Name of Authorized Individual - JEFFREY S. WOLLMAN, CFO                                             Date     ftv) uJ I 'f,         1..ot 'j

     *Authorized individual must be an officer, director or shareholder if debtor is a corporation; a partner if debtor is a
     partnership; a manager or member if debtor is a limited liability company.




                                                                                                                                           FORM MOR
                                                                                                                                                212008
                                                                                                                                          PAGE 1OF1
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ln        Retrieval Masters QodlCKS Bureau Inc.
           "'". '
     tt                                                                                                                                                                                                                                                                                                                 Cue No. 19-2318$ !RODI
                                                                                                                                                                                                                                                                                                             Rtpordn~Patod :          June 17 2019 ••••ine 30, 2019

                                                                                                                                                               SCHEDULE OF CASH RECEIPTS AND DISBURSEMENTS

          Ammmll repc>t-.d eA<lulr;I bc frOOl lhe dci:.o.-"1brob•lllllllQ!.1hc blnbl1!mlenl Tut    be~    ulh   ~      b'O Ow cn.1q call from lie pnor month
          or,iflliiislhe(alll•q:ql h•muunllhoul.lbcdll'b1lann<nlM dokfieprtlliunw.sfiled .             l'lR~rc~~t...·cuRRENTMON'TH­
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          RF:fTU'TN
          L-'11~
          ~CCOUNTS RECEIVABLE·
          "PREPETITION
          ACCOUNTS RECEIVABLE·
                                                             1I               .. l.06J.iuJ
                                                                                    2'9.90,
                                                                                                                       IT                  IT                  IT              IT                  IT         IT               IT                    I-r                IT                 IT                T
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          POSTf:ElTIIOW
          LOANS ANO ADVANCES
          SALE OF ASSETS
          OTHER t4TTACll usr.                                                       :Nln1                  l •.1!!J J6                             157 S24.92          20S8.38          36,$47.3,       m.91        ,.n.10                 i::BTI                               S9,0n.04           14 02.2.69              724.2:5                                        296030.99
          TRANSFERS 1FROM DIP .«::'CTSI                                       ll.t11071                                                                                                                                                                                                                                                                                    83701.72
             TOT Al. R!CEJPTS                                                1:n..l91-""'                  l    t,~   J6                           137 524.92          2 .0SB.38        56,541.35       225.91      >-P'-~n                JJJ   n:                             :59.072.04         14.022.69               724.25                                         423.056.45
          D OiOUKSJt\l(bTl!I
          'NETPAYROU..                                                       ~ '-1158 .43                                                                                                                                                                                                                                                                                  :55.858-43
           PAYROLL TAXES                                                      i• .~'l.jj (of\                                                                                                                                                                                                                                                                              2S,8S4.66
           SALES USE .t: OTHER TAXES
          INVENTORY PURCHASES
           SECURED-' Rart'AU LEASES
          INSURANCE                                                             .f,.100,M                                                                                                                                                                                                                                                                                   4.309.66
          ADMINISTRATIVE                                                        fi..1?'11 ;10                   <XNl 89                                                                                                                                                                                                                                                     7 370,19
          SELUNO
          OTHER ~.4TT.4CH I.ISTA                                             .<16.250.00                                                            9S.407.57            270.37          J6.Rl2,S6      67.23      ...z..m ] •                                                       1117.86          26S:.49              22S.48                                         161. 868.71
          OWNER DRAW•
          TRANSFER.$ l1l1 CLJENTS1                                                                                                                 141.212.31          2 467.7&         17,957.17                   ,_..,~m             l..9'1112.                                                                         604,77                                         169.063.77
          TRANSFERS         nn DIP ACCTS1
          PROFESSIGIAL FEES
          U.S. TRUS'rnE        l~TER LYFEES
          COURT COSTS
          TOT AL DISBURSEMENT5                                               11.Cfl!lit"                        . . ..                             2J6 689.U           2.7J8.U          3' 719.13       67.28       t-111 t1            l,9Mn                                        187.86           W.49
                                                                                                                                                                                                                                                                                                                          '''""                                           424.330.42

          NET CASH FLOW                                                     (1US8.52)                          367.47                              (79.164.96)          (679.77         21,757.62       158.63     fl.,l."l.llCJ       (2.594.t)il\                            S!l.884.18          13.757.20             (106.00                                           (1..273.97>1
          Cli.ECEIPTS LP.SS DJSBURSEMENTfil.

          CASH - END Of MQfil!L                                             :tts.7~,      ff.'.'
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                                                                                                           t.lllf 77            BS.134.56          779 217.37          3478.25          SO,S17.7S       8:52.71    !:!+.719~            1.6Sl!l ID             jl.ll.OJ        4:58 329.73         9S: 903.89                10.77         2421.89         1274.:Z:Z
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                                                                                                                                                                    THE FOLLO\VJNC SECTION MUST 8[ COMPLETED
          IHD\Jlt'll:MD"fl roftCAl.C\ll.ATUfG l'.3. Tll'STJ:.I: tl'AllTl:llL\' F!:U1(ntOM C:llUl!:HT Maft'll ACfllAL c:oLUMl'C)

          TOTAL DISBURSEMENTS                                                                                                  424.330.42                                                                                                                                                      1. Deleted $83, 702 from line ·TRANSFERS (TO DIP ACCTsr

      l " '~~'l=~~~OTHER DEBTOR IN                                                                                             284.687.48
                                                                                                                                                                                                                                                                                               2. Added new IS'te •Tranafell!I (TO CLIENTS). Reduced "OTHER (ATTACH LIST)."
      [ PWS: ESTATE DISBURSEMENTS MADE BY 01.ITSIDE
      SOURCES ri.c. fMm CICIO?.' llCCOUnH \                                                                                                                                                                                                                                                    3. Reduced ·oTHER (ATTACH LIST)" lo tufclude pra-pelltlon wire lransferof$42,500.
      ~TAL DlSBllRSEMENTS FUR CALO.'LATINC Ll.S.                                                                               139Ji42.94
            RtrSTEE Ql!ARTERLl' FEES                                                                                                                                                                                                                                                           4. Reduced •cASH BEGINNING OF MONTH" lo Include pf'B1>Slltlon wfrB lransferof $42,500.
                                                           19-23185-rdd                                                Doc 108                                Filed 08/16/19 Entered 08/16/19 09:02:15                                                                                                           Main Document
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In   ~   Relrieval Mastera Qedltois Bureau Inc.                                                                                                                                                                                                                                                                                             Cn!IC No. 19-23185 !RDDj
                                                                                                                                                                                                                                                                                                                                 &porting Period: June 17 2019 - June 30 2019
          °"'"""
                                                                                                                                                                                           BANK RECONCILIATIONS
         ContlnaaUon Shed ror MOJt.1
         Abllnkf<!cani:.i.liotim.mll!llbom.h>d..:lfaruchb.nlc•cclllml.Thodl!btor'liblnl:recancililticnmaybedl!lilllledrcr1hilriigi:.
         (BlnL:accourf.llll!llbon1moybc.mc~tolaslfournumbi:r:s.)



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                                                                                                                                                                                                         Michgiun. Aeoount      Nevada Trust          North Cmulin1           OY~entRefuod             QucstDi111nostics         Quest.Di113no:stics     TruslAsPerArizona            Credit Card         I   ACH

                                                                                                                                         """''"'                                        Ameri.ai                                    """'""'               Aa:ounl                                              Aoommtl                ACCCJunt2                 Law


         BALANCE PER BOOKS                               205,743.02.                   1.138.77                    85,134.56                779,217.37                3.478.25             :SO,Sl7.7S   '""         8S2.71    """      22,677.93
                                                                                                                                                                                                                                                    """       3.656.19        ''"'   Sl,313.3!1
                                                                                                                                                                                                                                                                                                     11!31!1
                                                                                                                                                                                                                                                                                                                 45&.329.73     ""'       9.S,903.89     "'"         (0.77)
                                                                                                                                                                                                                                                                                                                                                                              ~8351                    .l-
                                                                                                                                                                                                                                                                                                                                                                                              2.421.891 1,274.22


         ""''"!!M,~00'                                    m<1in11
                                                             4,859.97
                                                                                       ••~•n                       "P!.t56                  815.l -4.HO               1.~nm                '8!D't.h~                ~~~
                                                                                                                                                                                                                     :58.09
                                                                                                                                                                                                                                       !U.Tilll.I             lKki    11111          fd~~.lt"J.
                                                                                                                                                                                                                                                                                     (1:5,390.4:5)
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                                                                                                                                                                                                                                                                                                                                                                                              ~ . . ~1. ~ J   1,11.1 ~
         (+)DEPOSITS IN
         TRANSIT (AITACH LIST")

         (-) OUTSTANDING                                   (4.300.66}                                                                       (36.023.33)                 (13&.78               (310.88                                                                                                                 (S4.67)                (l3!.l6 ~             (22:5.48)
         CHECKS (ATTACH LIST):


         OTilER (ATl'ACH
         EXPLANATJONJ

         ADJUSTED BANK                                   20:5,743.021                  1,138.77_,                  ss.134..S6T              779,217.171               3,478.251            so.s11.15T               852.711            22,677.93T             3,656.191              51,313.351                  458,329.731              95,903.891                 (0.77>f                  2,421.89T 1.214.22
         BALANCE•


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 In re Retrieval Masters Creditors Bureau, Inc.                                                            Case No. 19-23185 (ROD)
       Debtor                                                                                     Reporting Period: June 17, 2019 - June 30, 2019



                                            STATEMENT OF OPERATIONS (Income Statement)
      The Statement of Operations is to be prepared on an accrual basis. The accrual basis of accounting recognizes revenue
      when it is realized and expenses when they are incurred. regardless of when cash is actually received or paid.


                                              REVENUES                                                   MONfH              CUMULATIVE -FILING
                                                                                                                                TO DATE
      Gross Revenues                                                                                            191 319                191,319
      Less: Returns and Allowances                                                                                     -                     -
      Net Revenue                                                                                               191_J_19               19Ll_l9
      COST OF GOODS SOLD
      B~nni1.!.&. Inventory                                                                                            -                     -
      Add: Purchases                                                                                                   -                     -
      Add: Cost of Labor                                                                                               -                     -
      Add: Other Costs_{gttach scheduliY_                                                                              -                     -
      Less: Fndin ~ Invent~                                                                                            -                     -
      Cost of Goods Sold                                                                                               -                     -
      Gross Profit                                                                                              191.319                191319
      OPERATING EXPENSES
      AdvertisinJL                                                                                                     -                     -
      Auto and Truck Ex.J!.ense                                                                                        -                     -
      Bad Debts                                                                                                        -                     -
      Contributions                                                                                                    -                     -
      Fn!£!~ee Benefits Pr~ains                                                                                    6 189                 6 189
      Officer/Insider Com_Q_ensation•                                                                              9,335                 'Ll_35
      Insurance                                                                                                   13 ,001               13,001
      Man~ement Fees/Bonuses                                                                                           -                     -
      Office Ex__Q!lnse                                                                                            1 77 6                1 77 6
      Pension & Profit-Sharin..E_Plans                                                                                 -                     -
      ~airs and Maintenance                                                                                       3212                   3212
      Rent and Lease Ex..£_ense                                                                                   8,754                  8 754
      Salaries/Commissions/Fees                                                                                  98,560                 9~60
      S1:!EJ!!ies                                                                                                 2,462                  2 462
      Taxes -Pl!:lfoll                                                                                            5,713                  5,713
      Taxes - Real Estate                                                                                              -                     -
      Taxes - Other                                                                                                    -                     -
      Travel and Entertainment                                                                                         -                     -
      Utilities                                                                                                   7,905                   7 905
      Other (altach schedule)_                                                                                  199 .484                199,484
      Total_.Ql:.eratin..J!..Expses Before ~eciation                                                            35~2                   356,392
      De_E!eciation/~letion/Amortization                                                                          JO 843                 10.843
      Net Profit 1_Lostl_Before Other Income & EJillenses                                                      (1 759161              (1 75.916 1
      OTHER INCOME AND EXPENSES
      Other Income (attach schedule}                                                                                   -                     -
      Interest ExJl_ense                                                                                               -                     -
      Other K~ense (attach schedule)_                                                                                  -                     -
      Net Profit (Los!!l_Before Reo!Jl..anization Items                                                       J IH 9 16)J             (175.9161
      REORGANIZATION ITEMS
      Professional Fees                                                                                                -                     -
      U. S. Trustee.Q!_arterJl. Fees                                                                                   -                     -
      Interest Earned on Accumulated Cash from Chapter 11 ('ee continuation                                            -                     -
      sheetj_
      Gain (Lostl_from Sale of_!ig_uj_.Q!nent                                                                          -                     -
      Other Reo!I_anization Ex..J!.e nses_{g flach schedule)
      Total Reo~anization Ex~nses
      Income Taxes
      Net Profit (Lo ss )
      ""Insider'' is defined in 11U.S.C.Seclion101(31).


       BREAKDOWN OF "OTHER" CATEGORY
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   OTHER COSTS
   Outside Call Center                                                                         46,250              46,250
   Account Enrichment Services                                                                  1,363               1,363
   Professional Fees - General Legal                                                            3,412               3,412
   Software licenses                                                                            4,887               4,887
   Cloud Back Up Services                                                                       1,503               1,503
   Dues and Subscriptions                                                                         432                 432
   Consultants                                                                                  8,576               8,576
   Credit Monitoring Expenses                                                                 132,560             132,560
   Oustside Mail Communications                                                                   502                502
   OTHER OPERATIONAL EXPENSES




   OTHER INCOME




   OTHER EXPENSES




  IanmR ROORGANIZATION EXPENSES




   Reorganization Items - Interest Earned on Accumulated Cash from Otapter 11:
   Interest earned on cash accumulated during the chapter 11 case, which would not have been earned but for the
   bankruptcy proceeding, should be reported as a reorganization item.
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In re Retrieval Masters Creditors Bureau, Inc.                                                                 Case No.                 19-23185 (RDD)
      Debtor                                                                                     Reporting Period: June 17, 2019 - June 30, 2019

                                                                                       BALANCE SHEET
     The Balance Sheet is to be completed on an accrual basis only. i'l"e-petition liabilities must be classified separately from post-petition obligations.

                                          ASSETS                                           BOnK VALl IE AT END OF             BOOK VAL! IE ATEND OF            BOOK VALUE ON PETI110N
                                                                                            Cf IRRENT REPORTING              PR!VR REPORTING MONIH               DATEURSCHEDUI.ED
                                                                                                   MO NIH
     ('URRENT ASSE1S

     Unrestricted Cash and E_..9..uivalents                                                                206.881.79                                    -                 260.372.84
     Restricted Cash and Cash ~uivalents (see continuation shee!)_                                       1-554, 777.07                                   -               1,545,059.99
     Accounts Receivable~etl_                                                                              927,518.82                                    -                 863.224.65
     Notes Receivable                                                                                                 -                                  -                          -
     Inventories                                                                                                      -                                  -                          -
     Pre..£_aid E~nses                                                                                      17,593.55                                    -                  20.888.46
     Professional Retainers                                                                                187 082.10                                    -                 147,994.00
     Other Current Assets..fEttach schedule)                                                               121.332.19                                    -                 132 415.82
     TOTAL CURRENT ASSETS                                                                                3.015 .185.52                                   -               2,969,955. 76
     ~PROPERIY & EQUIPMENT
                  -
     Real Property and Im.J!.rovements                                                                                                                   -
     Machi~ and su_!l!._ment                                                                               748.565.49                                    -                 748 565.49
     Furniture, Fixtures and Office E_g_uil?_ment                                                           73 ,712.52                                   -                  73,712.52
     Leasehold lr'!2!"ovemeius                                                                               7~52.33                                     -                  73.252.33
     Vehicles                                                                                                73 ,523.00                                  -                  73 523.00
     Less: Accurnulated Dl:j2reciation                                                                   J?48.15 l.7 LlJ                                 -               _1?37,308.55)
      TOTAL PROPERTY & EQUIPMENT                                                                          420,901.63                                     -                 431 744.79
     01HERASSETS

     Amounts due from Insiders*                                                                                                                          -
     Other AssetsJEttach schedule)                                                                         J.34,701.07                                   -                J_3 6,093.241'
      TOTAL OTHER ASSETS                                                                                    (34,701.07                                   -                 (36,093.24)
      TOTAL ASSETS                                                                                       3.401.386.08                                    -               3 , 36~607.31

                          LIABILITIES AND OWNER EQUITY                                     BOOK VALUE AT END OF               BOOK VALUE AT END OF             BOOK VALUE ON PETITION
                                                                                            CURRENT REPORTING                PRIOR REPORTING MONIH                     DA1E
                                                                                                 MO NIH
     1LIABILITIES NOT SUBJECT TO COMPROMISE (Postpetilion)
     Accounts P ~able                                                                                       123 652.31                                   -                  75.558.10
     Taxes Pay able_ft~r to FORM MOR-'fl.                                                                       889.74                                   -                     889.74
     W~s Pa.Y_able                                                                                           26. 192.90                                  -                          -
     Notes Payable                                                                                                    -                                  -                          -
     Rent I Leases - Buildine/E_..9..u!E._ment                                                                        -                                  -                          -
     Secured Debt I A~uate Protection Payments                                                                        -                                  -                          -
     Professional Fees                                                                                                -                                  -                          -
     Amounts Due to Insiders*                                                                                         -                                  -                          -
     Other Post:.11..etition Liabilities (attach schedule)                                               1, 737 736.00                                   -               1,600,327. 75
      TOTAL POST-PETITION LIABILITIES                                                                    1 888.470.95                                    -               1.676 775.59
     'LIABILITIES SUBJECT TO COMPROMISE (Pre-Petition)

      Secured Debt                                                                                       2_500.000.00                                    -               2 500.000.00
      PrioriIX. Debt
      Unsecured Debt                                                                                       436 688.47                                    -                 436,688.48
      TOTAL PRE-PETITION LIABILITIES                                                                     2_936,688.47                                    -               2,936.688.48
      TOTAL LIABILITIES                                                                                  4.825. 159.42                                   -               4.613 464.07
     ,OWNERS' EQUITY

      Cl!l!ital Stock                                                                                      101. 125.00                                    -                101.125.00
      Additional Paid-In Cl!l!ital
      Partners' C~tal Account
      Owner's E_g_ui!.Y_ Account
      Retained Earni ~ - Pre-Petition                                                                                                                                    1.718.218.24
                                                                                                                                                                               212008
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In re Retrieval Masters Creditors Bureau, Inc.                                         Case No.        19-23185 (RDD)
      Debtor                                                                  Reporting Period: June 17, 2019 -June 30, 2019

     Retained EamiJ!gS - Post-.petition                                             1.542,301.66
     A<fuistments to Owner ~ui!1...[gttach schedule)                               (3.067.200.00)                            -             _Q .067,200.00'
     Post~ition Contributions .f!!ttach schedul~
     NET OWNERS' EQUITY                                                           _ll ,423 ,773.34                          -              J).. 24 7. 856. 76'
     TOTAL LIABILITIES AND OWNERS' E..Q.UITY                                        3.401 386.08                                             3.365.607.31
     *"Insider" is def'med in 11 U.S.C. Section 101(31).


     BALANCE SHEET-                contin~n          section
                                         ASSETS                         BOOK VALUE AT END OF           B6oKv AWE AT END OF- BOOK VALUE ON PErrhoN1
                                                                         CURRENT REPORTING               PRIOR REPORTING                   DA TE
                                                                              MON1H                          MON1H
     Other Current Assets
     Prepaid Insurance                                                                   113,128.19                                                124,211.04
     Prepaid Corporate Taxes                                                                8,204.00                                                 8,204.00
     Manual Check Payroll Advance                                                                 .                                                     (0.02)
     Payroll Vednor Receivable                                                                    .                                                      0.80




     Other Assets
     Straight Line Rent Adjustment                                                       (34,701.07)                                               (36,093.24)




                         LIABrriTIESANn OwNER EQUITY                    BOOKV   ALUE TEND OF
                                                                                   A
                                                                                                       ------·- - · - - -          ·~~------

                                                                                                       BOOK VALUE AT END OF BOOK VALUE ON PE1TI10N '
                                                                                                                                                    ..
                                                                                                                                     ...,,..-,,.,.--,.---
                                                                                                                                                        ....
     r                                                                   CURRENT REPORTING               PRIOR REPORTING            DATE
                                                                              MON1B                           MONTH
     0ther p ost::I!.etlt10n L'1abT.
                                  1 1ttes
     Accrued Accounts Payable                                                            267,080.00                                                137,486.91
     Client Trust Payable                                                               1,469,642.51                                             1,459,925.43
     AFLAC Payable                                                                           999.43                                                    631.96
     NY State Family Leave - Due Employee                                                      14.06
     NY State Disability Insurance                                                                                                                     825.78
     NY State Paid Family Leave Insurance                                                                                                            1,457.67
     Ad'1ustments to Owner'E
                           s ~Ult\
     Stockholder's Drawing                                                            (3,060,000.00)                                            (3,060,000.00)
     Stockholder's Drawing - Taxes                                                        (7,200.00)                                                (7,200.00)


     Post-Petition Contributions




     Restricted Cash: Cash that is restricted for a specific use and not available to fund operations.
     Typically, restricted cash is segregated into a separate account, such as an escrow account.




                                                                                                                                               FORMMOR-3
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In re Retrieval Masters Creditors Bureau, Inc.                                                        Case No. 19-23185 (RDD)
      Debtor                                                                                 Reporting Period: June 17, 2019 -June 30, 2019

                                                       STATUS OF POST-PETITION TAXES

     The beginning tax liability should be the ending liability from the prior month or, if this is the first report, the
     amount should be zero.
     Attach photocopies of IRS Form 6123 or payment receipt to verify payment or deposit of federal payroll taxes.
     Attach photocopies of any tax returns filed during the reporting period.

                                                                       Amount
                                                                       Withheld
                                                    Beginning           and/or           Amount
      Federal                                         Tax              Accrued            Paid            Date Paid          Check # or EFf          E nding Tax
     Withholding                                               -          10,448.86        10,448.86           06!1 5 1~       903706250353371                  -
     FICA-Emplovee                                             -           4,278.69         4,278.69           06'25ti9l       903706250353371                  -
     FICA-Em_Q_lover                                           -           4.2.78.72        4.278.72           0612.51~        90    7062SO~S337 I              -
     Unem...£!.ovment                                          -                  2.91           2.9 1         06125119        903706250353371                  -
     Income                                                    -                                               061.2.5rl9      90370625035337 r                 -
     Other: Medicare-Employee                                  -           1,130.86          1.130.86          06125119        903706250353371                  -
     Other: Medicare-Em...IDover                               -           1,130.91          1,130.91          06/lSll~        9037062503533 71                 -
       Total Federal Taxes                                     -          21,270.95        21,270.95                                                            -
     !State and.LOcal
      Withholdin_g_                                            -           4,144.46          4,144.46          06125119        903706250353371                  -
      Sales                                                    -                                               06.12Sn9        903706250353371                  -
      Excise                                                     -                                             06125119        9037062503 53371                 -
      Unem...£!.ovment                                           -            36.79             36.79          0612511~        903706250353371                  -
      Real Pro~rtv                                               -                                             061'2.5/I ~     9037062503533 71                 -
      Personal P~..r.                                            -                                             061.!511~       90370625035337 J                 -
      Other: Localil v Tax                                       -           138.44            138.44          Oor2Sn~         903706250353371                  -
      Other: Metro Tax                                           -           264.02            2M .02          06"251~         903706250353371                  -
      Other: Use Tax                                             -           889.74                                                                       889.74
        Total State and Local                                    -         5,473.45          4,583.71                                                     889.74


      Total Taxes                                                -        26,744.40        25,854.66                                                      gg9 74


                                               SUMMARY OF UNPAID POST-PETITION DEBTS

     Attach aged listing of accounts payable.
                                                                                             Number of Days Past Due
                                                       Current             0-30            31-60             61-90                  Over 91             Total
      Accounts Pavable                                 339,911.53           8,209.90                                                                   348,121.43
      W_<lg_(~ Payable                                   26, 192.90                                                                                     26,192.90
      Taxes Pavable                                         889.74                                                                                         889.74
      Rent/Leases-B uildiQ.g_                            10,121.88                                                                                      JO. LU 88
      Rent/Leases-Equipment                               1,752.96                                                                                       1,752.96
      Secured Debt/Adequate                                                                                                                                         -
      Protection P ~ents
      Professional Fees                                                                                                                                             -
      Amounts Due to Insiders                             4,615.38                                                                                       4,615.38

      Other:                                                                                                                                                        -
      Other:                                                                                                                                                        -
      Total Post~tition Debts                          383,485.39           8,209.90                -                 -                        -       391,695.29

                                                                                                                                                                        FORM MOR-I
                                                                                                                                                                             2/2008
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In re Retrieval Masters Creditors Bureau, Inc.                            Case No. 19-23185 (RDD)
      Debtor                                                    Reporting Period: June 17, 2019 - June 30, 2019
      Explain how and when the Debtor intends to pay any past due post-petition debts.
      The Debtor intends to pay past due post-petition debts in due course.




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In re Retrieval Masters Creditors Bureau, Inc.                                                       Case No. 19-23185 (ROD)
      Debtor                                                                                Reporting Period: June 17, 2019 - June 30, 2019



                                                   ACCOUNTS RECEIVABLE RECONCILIATION AND AGING

                           Accounts R eceivable Reconciliation                                 Amount
     Total Accounts Receivable at the beginning of the reporting_period                           863 .224.65
     Plus: Amounts billed dun llg_the_JJ_eriod                                                     107.617.91
     Less: Amounts collected dun!'!&. the_Q_eriod                                                 _(43,323.74)
     Total Accounts Receivable at the end of the reporting oeriod                                 927 518.82



                                                                                  s
                                                                                      .J9                                                             439.529.99
                                                                                                  449,387.4                                           449.387.49



                                                                                 529.




                                                                              39,5L



                                                                    TAXES RECONCILIATION AND AGING

     Taxes Pay_able                                                       0-30 Days           31-60 Day_s        61-90 Dl!l'_s         91+D~         Total
     0-30 ~old                                                                   889. 74                                                                     889.74
     31 - 60 dl!Y_S old                                                                                                                                          -
     61 -90 ~sold                                                                                                                                                -
     91+ d!lyS old                                                                                                                                               -
     Total Taxes Pl!Y_able                                                       889.74                     -                    -               -        889.74
     Total Accounts P 'lY_able                                               41Q,_604.48            8.209.90                                          418 814.38




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In re Retrieval Masters Creditors Bureau, Inc.                                    Case No. 19-23185 (RDD)
      Debtor                                                             Reporting Period: June 17, 2019 - June 30, 2019


                                                  PAYMENTS TO INSIDERS AND PROFESSIONALS

     Of the total disbursements shown on the Cash Receipts and Disbursements Report (MOR-I) list the amount paid to insiders (as defined in
     Section I 01(31) (A)-(F) of the U.S. Bankruptcy Code) and to professionals. For payments to insiders, identify the type of compensation paid
     (e.g. Salary, Bonus, Commissions, Insurance, Housing Allowance, Travel, Car Allowance, Etc.). Attach additional sheets if necessary.


                                                          INSIDERS
                   NAME                     TYPE OFPA YMENT                AMOUNT PAID              TOTAL PAID TO DATE
     Jeffn:y_Wollman                      Sal!!!Y_                                   9,334.62                     9.334.62




                               TOTA!, PAYMl>N'.I'S TO INSIDEI!.S                     9 334.62                     9.334.62




                                                                                 PROF.F.SSIONAl..S
                                            DATEOFCOURT
                                          ORDER AUTHORIZING                                                                                          TOTAL INCURRED &
                   NAME                       PAYMENT                   AMOUNT APPROVED                AMOUNT PAID             TOTAL PAID TO DATE        UNPAID*




                        TOTAL PAYMENTS TO_.f!lOfESSlONALS
     *INCLUDE ALL FEES INCURRED, BOTH APPROVED AND UNAPPROVED




            POST-PETITION STATUS OF SECURED NOTES, LEASES PAYABLE
                     AND ADEQUATE PROTECTION PAYMENTS

                                              SCHEDULED
                                           MONTHLY PAYMENT                 AMOUNT PAID              TOTAL UNPAID POST-
           NAME OF CREDITOR                      DUE                      DURING MONTH                  PETITION
     Russell Fuchs                                               0                             0          2,500 ,000.00
     Robert Martin Co                                      21 ,289                             0             10 122.88
     Konica                                                    797                             0                 135.53
     Wells F~r_go                                           1,733                              0              1,617.43




                                               TOTAL PAYMENTS                                   0         2,511 875.84




                                                                                                                                                                FORM MOR-6
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  In re Retrieval Masters Creditors Bureau, Inc.                                                  Case No. 19-23185 (RDD)
        Debtor                                                                           ReportingPeriod: June 17, 2019-June30,2019



                                                   DEBTOR QUESTIONNAIRE

       Must be completed each month. If the answer to any of the questions is                 Yes              No
       "Yes", provide a detailed explanation of each item. Attach additional
       sheets if necessary.
       Have any assets been sold or transferred outside the normal course of business                          x
       this reporti~riod?

     2
       Have any funds been disbursed from any account other than a debtor in                                   x
       possession account this reporti1.!iperiod?

     3 Is the Debtor delinquent in the timely filing of any post-petition tax returns?
                                                                                                               x
         Are workers compensation, general liability or other necessary insurance                              x
     4 coverages expired or cancelled, or has the debtor received notice of expiration
         or cancellation of such policies?
     5 Is the Debtor delinquent in paying any insurance premium payment?                                       x
     6
       Have any payments been made on pre-petition liabilities this reporting                                  x
       period?

     7
         Are any post petition receivables (aocounts, notes or loans) due from related                         x
      1.£.arties?
     8 Are any ~~ti ti on...E_ayroll taxes past due?                                                           x
     9 Are   any~t~tition      State or Federal income taxes...£_ast due?                                      x
    10 Are ~st_Q_etition       real estate taxes_.E.ast due?                                                   x
    11 Are any other post petition taxes past due?                                                             x
    12 Have any pre-petition taxes been paid during this reporting period?                                     x
    13 Are an_y amounts owed to~t..E£!ition creditors deli119..uent?                           x
    14 Are any wage payments past due?                                                                         x
    15
        Have any post petition loans been been received by the Debtor from any                                 x
       l£.arty?
    16 ls the Debtor deli~ent in.llilYi'!lt an_y_ U.S. Trustee fees?                                           x
    17
       ls the Debtor delinquent with any court ordered payments to attorneys or                                x
       other professionals?

    18
       Have the owners or shareholders received any compensation outside of the                                x
       normal course of business?




                                                                                                                                      FORMMOR-7
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